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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT DAYTON

HUSTUS S. WILLIAMS,

         Plaintiff,                                    Case No.: 3:19-cv-172

vs.

COMMISSIONER OF SOCIAL SECURITY,                       Magistrate Judge Michael J. Newman
                                                       (Consent Case)
         Defendant.


 ORDER: (1) APPROVING THE PARTIES’ JOINT STIPULATION FOR AN AWARD
 OF ATTORNEY’S FEES UNDER THE EQUAL ACCESS TO JUSTICE ACT (“EAJA”)
       (DOC. 18); AND (2) AWARDING PLAINTIFF $3,500.00 IN EAJA FEES


         This Social Security disability benefits appeal is before the Court on the parties’ joint

stipulation in which they agree that Plaintiff should be awarded attorney’s fees under the Equal

Access to Justice Act (“EAJA”), 28 U.S.C. § 2412, in the amount of $3,500.00. Doc. 18. Based

upon the parties’ stipulation in which they present no dispute that all requirements are met for the

reasonable award of EAJA fees, the Court: (1) APPROVES the parties’ joint stipulation (doc. 18);

and (2) AWARDS Plaintiff EAJA fees in the amount of $3,500.00. As no further matters remain

pending for review, this case remains TERMINATED upon the Court’s docket.

         IT IS SO ORDERED.


Date: 8/3/2020                                       s/Michael J. Newman
                                                     Michael J. Newman
                                                     United States Magistrate Judge
